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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                EASTERN DIVISION

Protect Our Parks, Inc.; Charlotte Adelman; )
Maria Valencia; and Jeremiah Jurevis;       )
                                            )
                              Plaintiffs,   )
                                            )          No. 18 CV 03424
              v.                            )
                                            )
Chicago Park District and City of Chicago, )           Judge John Robert Blakey
                                            )
                              Defendants. )

         DEFENDANTS’ STATEMENT REGARDING SUMMARY JUDGMENT

       Defendant City of Chicago (“City”), by its attorneys, Edward N. Siskel, Corporation

Counsel for the City, and Mayer Brown, LLP, and Defendant Chicago Park District (“Park

District”), by its attorney, Burke, Warren, MacKay & Serritella P.C., respectfully submit this

statement regarding summary judgment in response to the Court’s orders of January 22 and

January 31, 2019.

       In its January 22 order (Dkt. No. 79), the Court indicated that, pursuant to Fed. R. Civ. P

12(d), it was converting Defendants’ Motion for Judgment on the Pleadings (Dkt. No. 48) to a

motion for summary judgment. The order further stated that, by February 5, 2019, the parties

were to (1) inform the Court whether they objected to the conversion, and (2) present all

additional materials, if any, that may be pertinent to the motion for summary judgment. In its

January 31 order (Dkt. No. 82), the Court clarified that, as to the additional materials, the parties

were to “advise this Court as to . . . what additional materials or briefing, if any, may be pertinent

to the motion for summary judgment.” In response to these orders, Defendants state as follows:

       1.      Defendants do not object to conversion of their motion for judgment on the

pleadings to a motion for summary judgment.
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       2.      The Court may treat as Defendants’ opening submission on summary judgment

the briefing and attachments submitted by Defendants in support of their motion for judgment on

the pleadings. See Dkt. Nos. 48 & 49. Defendants do not intend to submit additional factual

materials in support of their opening submission on summary judgment. However, consistent

with the local rules, Defendants reserve the right to submit additional factual materials in reply to

any materials that may be identified today by Plaintiffs in opposition to summary judgment. See

Local Rule 56.1(a) (“If additional material facts are submitted by the opposing party pursuant to

section (b), the moving party may submit a concise reply in the form prescribed in that section

for a response.”). The additional materials that Defendants might submit in reply could include,

for example, discovery materials that Defendants produced to Plaintiffs on December 6, 2018 in

accord with the Court’s November 29, 2018 order granting limited discovery to Plaintiffs. See

Dkt. No. 64. Those materials are identified in the correspondence attached as Exhibit A.

       3.      Finally, as to additional briefing on the motion for summary judgment,

Defendants plan to file a reply brief in support of their opening submission, as contemplated by

the briefing schedule set by the Court on Defendants’ motion for judgment on the pleadings. See

Dkt. No. 64. Defendants await the Court’s guidance regarding the reply brief’s due date in light

of the conversion of Defendants’ motion for judgment on the pleadings to a motion for summary

judgment. Defendants maintain their interest in moving this case along expeditiously, and

respectfully suggest that a schedule be set regarding these matters at the upcoming February 14

hearing.




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Date:    February 5, 2019                           Respectfully submitted,

BURKE, WARREN, MACKAY & SERRITELLA,                 EDWARD N. SISKEL
P.C.                                                Corporation Counsel for the City of Chicago
Counsel for the Chicago Park District

By:      /s/ Joseph P. Roddy                        By:    /s/ Andrew Worseck

Richard W. Burke                                    John Hendricks
Joseph P. Roddy                                     Deputy Corporation Counsel
Elizabeth Meyer Pall                                Andrew W. Worseck
Susan M. Horner                                     Chief Assistant Corporation Counsel
Burke, Warren, MacKay & Serritella, P.C.            Justin Tresnowski
330 North Wabash Avenue, Suite 2100                 Assistant Corporation Counsel
Chicago, Illinois 60611                             City of Chicago, Department of Law
(312) 840-7000                                      Constitutional and Commercial Litigation
Attorneys for Defendant Chicago Park District       Division
                                                    30 North LaSalle Street, Suite 1230
                                                    Chicago, Illinois 60602
                                                    (312) 744-6975 / 4-7129 / 4-4216
                                                    Attorneys for Defendant City of Chicago

                                                    Michael A. Scodro
                                                    Britt M. Miller
                                                    Jed W. Glickstein
                                                    Mayer Brown LLP
                                                    71 South Wacker Drive
                                                    Chicago, IL 60606
                                                    (312) 782-0600 (Telephone)
                                                    (312) 701-7711 (Facsimile)
                                                    Attorneys for Defendant City of Chicago




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                                 CERTIFICATE OF SERVICE

       I, Andrew Worseck, an attorney, hereby certify that on this, the 5th day of February,

2019, I caused copies of Defendants’ Statement Regarding Summary Judgment to be

electronically filed with the Clerk of the United States District Court for the Northern District of

Illinois using the CM/ECF system, which will send notification of such filing to all parties that

have appeared in this action

                                                              /s/ Andrew W. Worseck




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